Case 3:16-md-02741-VC Document 648-13 Filed 10/27/17 Page 1 of 4




           EXHIBIT 13
                              Case 3:16-md-02741-VC Document 648-13 Filed 10/27/17 Page 2 of 4




ACTION PLAN ECHA

    GTF statement positioning the publication of proposal in context of EChA process and the recommendations by BAUA at high level : June 2 nd
    Gain intel on household products classified with STOT-RE2 to put things into context
    Technical comments (GTF) < July 18
         --Technical comments on draft CLH classification proposal
         --Compilation of regional reviews on CARC
         --Other relevant technical comments in anticipation of NGO submissions/suggestions
    Decide on submission of EDSP data to ECHA (explore ways for ECHA to consider the data eg through JMPR)
     Convince independant experts to submit arguments against STOT-RE as well as issuing reinforcing comments confirming no need for carcinog
         - -map which influencial experts wants to do this (no funding; sensitive!)
   •In parallel, gather intel on Norway in context of EChA (track record)
   •Gain intelligence on ECHA following EFSA classification proposals
   • STOT-RE 2 clssified compounds; what can we learn?
   •Have toxicologist at RAC meeting (through ECPA)
   •Influence positions of MS on classification proposal
         - - Note: panel members should not be approached !
         - - Map the panel members (who, affiliations, reputation,etc)
         - - Map Key Influencial People (KIPs) to panel members
         -- Understand panel memebers positions/concerns through KIPs /publications
         Expose panel members through KIPs-affiliates-communications in media they are exposed to
   •Later, in anticipation of publication of final conclusions/classification by EChA ,work on good public brief on EChA process and next steps (idea
                                  Case 3:16-md-02741-VC Document 648-13 Filed 10/27/17 Page 3 of 4




Status     Comments                                                    timelines

           available on GTF website
           Mark Martens; in progress level 2
                                                                       first draft available 14/6   Contact§ Francesca for uploading c
            in progress level 1
            in progress level 1
            in progress level 1
            Access to EDSP pending; ECHA does typicall not review ED
genicity cl in progress level 2                                                                     Kimberly to draw up the list with B
            in progress level 2
            in progress level 2                                                                     ECPA can help
            ECPA will update
            Mark Martens; in progress level 2
            need to notify ECHA one month ahead of RAC                                              synergy with other a.i. discussions


           more intel needed on connections with activist authors                                   Mike/Jen to contact Bill reeves and
           in progress level 2
           in progress level 2
           in progress level 2
is to provide nuance to who really has the last word and on what exactly)
                                      Case 3:16-md-02741-VC Document 648-13 Filed 10/27/17 Page 4 of 4




comments




Bill heydens (Eu experts, Greim, Kirkland, Kier)




 to be explored; experts can be inter‐changed per dicipline


d the fusion center
